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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ZACHARY GREENBERG                          :
                                           :       CIVIL ACTION
                        Plaintiff          :
                                           :       NO. 2:20-CV-3822
                v.                         :
                                           :
JOHN P. GOODRICH, in his               :
official capacity as Board Chair of the    :       Hon. Chad F. Kenney
Disciplinary Board of the Supreme          :
Court of Pennsylvania, et al.              :
                                           :
                        Defendants         :


                        Declaration of Laura K. Mohney, Esquire

         I, Laura K. Mohney, Esquire, declare:

         1.     I am Counsel to the Disciplinary Board of the Supreme Court of

 Pennsylvania, and have been in my position since 2000.

         2.     As part of my official duties, I am familiar with the process by which

 Rules of Professional Conduct are drafted, reviewed, and approved by the

 Disciplinary Board and the Supreme Court of Pennsylvania, which includes the

 receipt of comments regarding proposed rules and amendments.

         3.     I am familiar with the proposed amendments to Rule of Professional

 Conduct 8.4 to add paragraph (g) and two comments.

         4.     As part of the process for the Rule 8.4 amendments, the Board received

 the attached letters following the August 31, 2019, Notice of Proposed Rulemaking

 (49 Pa.B. 4941), which were provided to the Board’s Rules Committee and the

 Supreme Court for consideration :

                ●       September 13, 2019, letter from the Pennsylvania Bar

                                               1
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                     Association (Exhibit A);

             ●       September 26, 2019, letter from the Philadelphia Bar

                     Association (Exhibit B); and

             ●       September 20, 2019, letter from the Allegheny County Bar

                     Association (Exhibit C).

      5.     The letters were received in and kept in the Board’s regular course of

business.

      Pursuant to 28 U.S.C. §1746, I verify under penalty of perjury that the

foregoing is true and correct.




                                                ___________________________
                                                Laura K. Mohney
                                                Counsel to the Disciplinary Board of
                                                the Supreme Court of Pennsylvania

September 20, 2021




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                     Exhibit A
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OFFICE
OF THE
PRESIDENT                  l 00 SOUTH STREET • P.O. BOX 186 • HARRISBURG, PA 17108-0186 • (7 1 7) 238-6 715 or (800) 932-0311 • FAX (71 7] 238-1204

ANNEN. JOHN




September 13, 2019

Jesse G. Hereda
Executive Director
Disciplinary Board of the
 Supreme Court of Pennsylvania
601 Commonwealth Avenue, Suite 5600
P. 0. Box 62625
Hanisburg, PA 17106-2625

            Re: Proposal to Adopt Rule of Professional Conduct 8.4(g) Prohibiting Harassment
            or Discrimination in the Practice of Law

Dear Mr. Hereda:

The Disciplinary Board has issued a Notice of Proposed Rulemaking dated August 31, 2019 (49
Pa.B. 4941) relating to a proposed amendment to Rule 8.4 of the Pennsylvania Rules of
Professional Conduct ("RPC"). Proposed RPC 8.4(g) is intended to make it professional
misconduct for a lawyer, in the practice of law, to knowingly manifest bias or prejudice, or
engage in harassment or discrimination.

In November 2016, the PBA House of Delegates approved a recommendation that the Supreme
Court adopt a version of Model Rule 8.4(g) developed after extensive consideration by the PBA
Legal Ethics and Professional Responsibility Committee and the Commission on Women in the
Profession. By Jetter dated December 2, 2016, then President Sara A. Austin conveyed the
approved recommendation to Chief Justice Thomas G. Saylor, a copy of which, with the
enclosures, is included for your convenience. Pages 3 through 5 of Ms. Austin's December 2,
2016 letter also expressed certain concerns regarding the version of RPC 8.4(g) that had been
proposed by the Disciplinary Board on November 16, 2016.

The Disciplinary Board' s current proposed version of RPC 8.4(g) is substantially in conformance
with the recommendations approved by the PBA House of Delegates in November 2016, and
addresses the key concerns previously expressed regarding the Disciplinary Board's initial
proposal. In particular, the Board's current recommendation ties the offending conduct to
harassment or discrimination as those te1ms are defined in applicable federal, state or local law, a
component of the PBA recommendation that should provide useful guidance to lawyers as to the
scope of application of the new rule. The Board's recommended rule language also is consistent
with the PBA recommendation in that it imposes a "knowingly" mens rea requirement to trigger
application of the rule. In addition, the Board recommends that the rule apply in circumstances
where lawyers are engaged in bar association meetings, conferences and continuing legal
education seminars, all of which comports with the PBA recommendation.



                                    PRESIDENT'S OFFICE: 96 EAST MAIN STREET • UNIONTOWN, PA 15401
                                PHONE (724] 438-8560 • FAX (724] 438-8690 • EMAJL: onj@johnondjohnlow.com
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The Board's notice correctly explains by way of background that the majority of states already
have anti-harassment and anti-discrimination Rules of Professional Conduct in place. Inasmuch
as the Board's pending recommendation comports with the PBA's approved policy in this
regard, the PBA, through unanimous approval of the Board of Governors, acting in lieu of the
House of Delegates on September 12, 2019, expresses strong support of the Disciplinary Board's
pending proposed amendments to Rule 8.4 and is prepared to again urge the Supreme Court to
accept and adopt the rule change.

Thank you for the opportunity to comment on this matter and we commend the Board for its
further evaluation of the issues raised by the PBA and other bar associations concerning this
important rule change. Please do not hesitate to contact us if you have any questions concerning
the foregoing or if we can be of assistance in facilitating the rule change.




                                            Respectfully yours,

                                            ~ u.f-
                                            Anne N. John, Esquire
                                            PBA President



Enclosures

cc:   Barry M. Simpson, Esq.
      Francis O'Rourke
      Melissa M. Leininger, Esq.
      Renee Mattei Myers, Esq.
      Jennifer S. Coatsworth, Esq.
      Stephanie F. Latimore, Esq.
      Daniel Q. Harrington, Esq.
      Daniel J. Siegel, Esq.
      Amy J. Coco, Esq.
      Thomas G. Wilkinson, Jr., Esq.




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         PRESIDENT              l OOSOUTH STREET• P.O. BOX 186 •HARRISBURG, PA 17108-0186 • (717) 238-6715 or (800) 932-0311 •FAX (717) 238-1204

         SARA A. AUSTIN

         December 2, 2016

         The Honorable Thomas G. Saylor
         Chief Justice
         Supreme Court of Pennsylvania
         Fulton Building, 16111 Floor
         200 North Third Street
         HaiTisburg, PA 17101

        Re: Recommendation to Adopt Rule of Professional Conduct 8.4(g)

        Dear Chief Justice Saylor:

               We enclose the Pennsylvania Bar Association recommendation to amend Rule of
        Professional Conduct 8.4 (Misconduct) to include a prohibition on harassment and
        discrimination in the practice of law in substantial conformity with the Model Rule amendment
        approved by the American Bar Association House of Delegates in August. This letter will
        provide background on this important recommendation, and summarize the several enclosures.

                In 1996, twenty years ago, the PBA approved a recommendation to amend Rule 8.4 of
        the Pennsylvania Rules of Professional Conduct to include sexual harassment as a form of
        professkmal misconduct ·and requested the Supreme Couit to adopt the amendment. The PBA
        renewed its request in 1999 and suggested that the rule also prohibit discrimination on the basis
        of ethnicity, gender or race. The Court did not act on those proposals. In 1988, the ABA
        adopted Comment [3] to Model Rule 8.4, which explained that certain conduct may be
        considered "conduct prejudicial to the administration of justice," in violation of Rule 8.4(d),
        including when a lawyer knowingly manifests, by words or conduct, bias or prejudice against
        ce1iain groups of persons, while in the course of representing a client. That Comment also was
        not adopted in Pennsylvania.

               In furtherance of PBA's long-standing mission to promote justice, respect for the rule of
        law, professional excellence, and betterment of the legal profession, the PBA Board of
        Governors and House of Delegates in November overwhelmingly approved a Recommendation
        proposing an amendment to Rule 8.4 of the Pennsylvania Rules of Professional Conduct
        prohibiting harassment and discrimination in conduct related to the practice of law (Attachment
        A). The Recommendation was sponsored by the PBA Women in the Profession Committee
        ("WIP") and Legal Ethics and Professional Responsibility Committee ("Ethics Committee") and
        supported by various other interested committees and sections.




                                        PRESIDENT'S OFFICE: 226 EAST MARKET STREET • YORK, PA 17403
                                     PHONE (7 17) 846-2246 • FAX (717) 846-2248 • fawt: soustln@oustlnlowltc.com
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 The Honorable Thomas G. Saylor
 December 2, 2016
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         The PBA's Recommendation follows the adoption by the ABA of new Model Rule 8.4(g)
 and new Comments [3], [4] and [5] as discussed in ABA Revised Resolution 109 (Attaclunent
 B). The product of two years of work by the ABA Standing Committee on Ethics and
 Professional Responsibility, Model Rule 8.4(g) makes it professional misconduct for a lawyer to
 "engage in conduct that the lawyer knows or reasonably should know is harassment or
 discrimination on the basis of race, sex, religion, national origin, ethnicity, disability, age, sexual
 orientation, gender identity, marital status or socioeconomic status in conduct related to the
 practice of law." The new Model Rule provides that it "does not limit the ability of a lawyer to
 accept, decline or withdraw from a representation in accordance with Rule 1.16" or "preclude
 legitimate advice or advocacy consistent with these Rules."

        The WIP's original Recommendation was to adopt the ABA Model Rule amendment and
accompanying Comments without change. However, after thoughtful collaboration with the
Ethics Committee, a determination was made to submit a revised Recommendation that met the
concerns and objectives of both Committees and also incorporated helpful input from the
Professional Liability Committee. The revised Recommendation proposes an amendment to
Rule 8.4 which provides that it is professional misconduct for a lawyer to "engage in conduct
that the lawyers lmows is harassment or discrimination as those terms are defined in applicable
federal, state or local statute or ordinance, on the basis of on the basis of race, sex, religion,
national origin, ethnicity, disability, age, sexual orientation, gender identity, marital status or
socioeconomic status in conduct related to the practice of law." The proposed amendment "does
not limit the ability of a lawyer to accept, decline or withdraw from a representation in
accordance with Rule 1.16" or "preclude legitimate advice or advocacy consistent with these
Rules."
                         .                     .                           -
        The PBA's proposed Rule 8.4(g) differs from its Model Rule counterpart in the following
respects: (1) it limits prohibited activity to harassment or discrimination as those terms are
defined in applicable federal, state or local statue or ordinance; and (2) it eliminates the
"reasonably should know" standard and relies on "knows," which requires actual knowledge, as
defined in Rule l .O(f). Requiring "!mowing" conduct assures that lawyers will not be exposed to
discipline under this Rule for inadvertent conduct or mere negligence. The Conunittees further
agreed that it was appropriate to incorporate language that would clarify the scope of the Model
Rule to conform to governing substantive law addressing harassment and discrimination.

         As noted in the Ethics Committee's Repo1t (Attachment C), the PBA's proposed new
 Comments, while in substantial conformity with ABA Comments [3], [4) and [5] , include
 additional language in Comment [3] to make clear that the Rule "does not serve to expand upon
or limit a claimant's available rights or remedies under other law governing harassment or
discrimination." This sentence confnms that a disciplinary complaint may be filed against a
lawyer by a claimant who may also happen to have access to a substantive law damages remedy
for the harassment or discrimination and neither forum is intended to be exclusive. In addition,
C01mnent [5] includes a sentence that reads, "This Rule does not require a lawyer to accept or
reject the representation of any prospective client who is a member of any of the referenced
classifications." The foregoing sentence makes clear that the rule does not undermine the
lawyer's traditional discretion to choose not to unde11ake the representation of a particular client
who happens to be in a protected group.
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    The Honorable Thomas G. Saylor
    December 2, 2016
    Page 3


            To date, twenty-five jurisdictions have adopted some form of anti-bias and/or anti-
    harassment provisions in their Rules of Professional Conduct and 13 have the above-referenced
    Model Rule comment language. The PBA strongly believes, as it did over twenty years ago,
    that now is the time to establish in the black letter of Rule 8.4 that harassment and discrimination
    have no place in the practice of law. The proposed amendment is broad enough to prohibit
    various forms of illegal harassment and discrimination but narrow enough to avoid exposing a
    lawyer to discipline unless the lawyer knows the conduct constitutes harassment or
    discrimination directed to one or more persons in a protected category, and we respectfully
    request that the Court give the PBA's Reconunendation careful consideration.

            We also note that, on November 16, 2016, the Disciplinary Board issued a Notice of
    Proposed Rulemaking with respect to a proposed version of Rule 8.4(g). We convey below a
    series of serious concerns with the version of the Rule reflected in the published Notice:

    1.     The Board's proposal was copied from the cmrent Illinois Rule 8.40), adopted in 1993,
           some 23 years before Model Rule 8.4(g), and is, therefore, not drawn from the Model
           Rule adopted by the ABA in August 2016. No other state has adopted the Illinois version
           of the Rule. Illinois is cmrently taldng comments on Model Rule 8.4(g), with an eye
           toward replacing its Rule 8.40).

2.        The Board acknowledges that its proposed amendment "is narrow in scope compared to
          the ABA Model Rule, because of the requirement of a judicial or administrative finding
          of discriminatory conduct." In addition, the Board proposal lacks any prohibition against
          harassment or discrimination based on several protected categories (i.e., etlmicity, gender
          identity and-marital status}in both -the Model Rule and-the -PBA proposal. There-are also
          severe restrictions on the permissible means of establishing misconduct, as compared to
          either the ABA Model Rule or the PBA recommendation. The Disciplinary Board
          explains that these restrictions and limitations are due to its "resomce-strapped" status,
          implying that it will be besieged with harassment and discrimination complaints but
          without any assessment of the additional resomces that may reasonably be necessary to
          evaluate complaints that are yet to be filed.

3.        The PBA maintains that appropriate standards for professional conduct of attorneys in
          this Commonwealth should be established on the basis of values and norms independent
          of the transient issue of availability of funding or staffing. 1 In any event, as explained in
          the attached approved PBA Reconunendation and supporting documents, the PBA
          recommendation includes several modifications to the Model Rule and its Comments
          which significantly clarify the scope and application of the rule, and, correspondingly,
          should limit the enforcement burden.



1
  Despite limited resourc~s, the Unified Judicial System of Pennsylvania has adopted both a Code of Conduct for
Employees prohibiting "any form of discrimination, harassment, or retaliation against any person as prohibited by
law or court policy,'' and a Policy on Non-Discrimination and Equal Employment Opportunity specifically
prohibiting discrimination or harassment on the basis of race, color, sex, sexual orientation, national origin, age,
disability or religion.
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 The Honorable Thomas G. Saylor
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 4.    Aspects of the Disciplinary Board proposal, including most prominently the requirement
       of exhaustion of other administrative or ciyil remedies prior to pursuit of a disciplinary
       complaint in most cases, would not achieve the stated goal of limiting the burden on the
       disciplinary system, but would have other adverse consequences. A potential grievant in
       disciplinary matters would be forced to pursue all available remedies tlu·ough the
       administrative or judicial process, even in circumstances where the grievant would not
       otherwise wish to do so, merely in order to be able to preserve the ability to pursue
       disciplinary action against a Pennsylvania lawyer. This would impose unnecessary
       additional burdens on the administrative agencies involved, as well as on the judiciary.
       Even more impotiantly, it would require the grievant to retain counsel, incur legal fees
       and expenses and await the outcome of proceedings that could take years before the
       disciplinary process even moves forward.

5.     The Board proposal allows lawyers to avoid discipline for professional misconduct
       within the scope of the Rule merely because an aggrieved pruiy failed in some technical
       fashion to pursue successfully their administrative or civil remedies, such as by missing a
       time deadline. (Filing deadlines in such administrative matters can be as short as 180
       days).

6.    Because the Disciplinary Board proposal would require such administrative or judicial
      matters to be pursued to a conclusion as a condition prerequisite to initiating the
      disciplinary process, it would provide a significant disincentive to the prompt resolution
      of the proceeding, further aggravating the burden on the affected administrative agencies
      and on the judiciary. The Board proposal would also afford lawyers an opportunity to
      effectively buy their way out of potential exposure for professional discipline via a
      negotiated seftleriierit ,;_a tactic that in ii"riy otliet; context wotila be deemed"uriethfoal.

7.     Even as to those complaints pursued to a final resolution through a civil or administrative
      proceeding, a finding of harassment or discrimination would not materially reduce the
      burden on the Office of Disciplinary Counsel or the Disciplinary Board in connection
      with an ensuing disciplinary matter. Professional misconduct must be established by
      "clear and convincing" evidence, as distinguished from the lesser "preponderance of the
      evidence" standard applicable to civil and administrative matters. Therefore, even a final
      order finding a lawyer has committed harassment or discrimination following an
      administrative or civil matter would not eliminate the need for the disciplinary authorities
      to evaluate a complaint anew under the heightened "clear and convincing" standard
      applicable to disciplinary proceedings.

8.    The Notice of Proposed Rulemaking also contains the restriction that the hru·assment or
      discrimination involve "conduct that reflects adversely on the lawyer's fitness as a
      lawyer." Unfortunately, this plu·ase bonows from language appearing in Rule 8.3
      (Reporting Professional Misconduct) and would, therefore, arguably trigger the
      mandatory repotting rule each and every time another lawyer "knows" of a violation.
      This is likely an unintended consequence. Moreover, it is conceivable that the conduct of
      a lawyer who knowingly engages in harassment or discrimination in connection with the
      practice of law may not reflect adversely on that lawyer's ongoing fitness to practice law,
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The Honorable Thomas G. Saylor
December 2, 2016
Page 5

       but may be deserving of some appropriate disciplinary sanction, ranging from an
       informal admonition to some form of public discipline.

9.     Under the version of Rule 8.4(g) proposed by the PBA, the disciplinary counsel would
       still have the discretion to defer action, pending resolution of any parallel or related
       administrative or court proceedings. The Board already follows this practice in the fee
       dispute context and could do the same here where it deems appropriate without imposing
       a per se rule prohibiting it from investigating even the most egregious (and potentially
       ongoing) harassment and/or discrimination. If such parallel proceedings were .resolved
       adversely to the grievant, then this would likely have dispositive effect on a disciplinary
       claim involving the same circumstances.

         For at least the foregoing reasons the Disciplinary Board's Notice of Proposed
Rulemaking issued without consideration of the Pennsylvania Bar Association recommendation
on this impo1tant subject presents an unsatisfactory approach to addressing harassment or
discrimination in the practice of law. We have copied the Board Chair and Secretary on this
letter to ensure they are aware of the foregoing concerns.

         On behalf of the Pennsylvania Bar Association, we appreciate the Cornt's consideration
of this recommendation and would be happy to answer any questions concerning the foregoing.


R~~tfully yours,


~ii#
PBA President

Enclosures

cc:   Barry M. Simpson, PBA Executive Director
      Francis J. O'Rourke, PBA Deputy Executive Director
      Jane G. Penny, Disciplinary Board Chair
      Paul J. Killion, Chief Disciplinary Counsel
      Julia M. Frankston-Morris, Secretary of the Disciplinary Board
      Daniel Q. Harrington, Co-Chair, PBA Legal Ethics and Prof I. Resp. Comm.
      Samuel D. Miller, III, Co-Vice Chair, PBA Legal Ethics and Profl. Resp. Comm.
      Daniel J. Siegel, Co-Vice Chair, PBA Legal Ethics and Prof I. Resp. Comm.
      Thomas G. Wilkinson, Jr., Past PBA President
      Mary Kate Coleman, WIP Co-Chair
      Jessie L. Smith, WIP Co-Chair
      Kathleen D. Wilkinson, Zone 1 Governor and Past WIP Co-Chair
      Amy J. Coco, Member ofWIP and Legal Ethics and Profl. Resp. Comm.
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Attachment A                 PENNSYLVANIA BAR ASSOCIATION
                           WOMEN IN THE PROFESSION COMMISSION
                          AMENDED RECOMMENDATION AND REPORT

                                             Recommendation

             That the Pennsylvania Bar Association (PBA) urges the Supreme Court of Pennsylvania
     to adopt the amendment to Rule 8.4 of the ABA Model Rules of Professional Conduct which
     adds section (g), as follows: "It is professional misconduct for a lawyer to: (g) engage in conduct
     that the lawyer knows is harassment or discrimination as those terms are defined in applicable
     federal, state or local statute or ordinance, on the basis of race, sex, religion, national origin,
     ethnicity, disability, age, sexual orientation, gender identity, marital status or socioeconomic
     status in conduct related to the practice of law. This paragraph does not limit the ability of a
     lawyer to accept, decline or withdraw from a representation in accordance with Rule 1.16. This
     paragraph does not preclude legitimate advice or advocacy consistent with these Rules."

           The WIP recommends that the additional Comments to ABA Model Rule 8.4
     accompanying subpart (g) be adopted with the following amendments:

            [3] Discrimination and harassment by lawyers in violation of paragraph (g)
            undermine confidence in the legal profession and the legal system. Such
            discrimination includes harmful verbal or physical conduct that manifests bias or
            prejudice towards others. Harassment includes sexual harassment and derogatory
            or demeaning verbal or physical conduct. Sexual harassment includes unwelcome
            sexual advances, requests for sexual favors, and other unwelcome verbal or
            physical conduct of a sexual nature. The substantive law of antidiscrimination and
            anti-harassment statutes and case law may guide application of paragraph (g).
            This Rule does not serve to expand upon or limit a claimant's available rights or
            remedies under other law governing harassment or discrimination.

            [4] Conduct related to the practice of law includes representing clients; interacting
            with witnesses, coworkers, court personnel, lawyers and others while engaged in
            the practice of law; operating or managing a law firm or law practice; and
            participating in bar association, business or social activities in connection with the
            practice of law. Lawyers may engage in conduct undertaken to promote diversity
            and inclusion without violating this Rule by, for example, implementing
            initiatives aimed at recruiting, hiring, retaining and advancing diverse employees
            or sponsoring diverse law student organizations.

            (5] A trial judge's finding that peremptory challenges were exercised on a
            discriminatory basis does not alone establish a violation of paragraph (g). A
            lawyer does not violate paragraph (g) by limiting the scope or subject matter of
            the lawyer's practice or by limiting the lawyer's practice to members of
            underserved populations in accordance with these Rules and other law. A lawyer
            may charge and collect reasonable fees and expenses for a representation. Rule
            1.5(a). Lawyers also should be mindful of their professional obligations under
            Rule 6.1 to provide legal services to those who are unable to pay, and their
            obligation under Rule 6.2 not to avoid appointments from a tribunal except for
            good cause. See Rule 6.2(a), (b) and (c). This Rule does not require a lawyer to
            accept or reject the representation of any prospective client who is a member of
            any of the referenced classifications. A lawyer's representation of a client does
            not constitute an endorsement by the lawyer of the client's views or activities. See
            Rule l .2(b).
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      That the President and/or the President's designee(s) shall communicate its position to the
Supreme Cout1 of Pennsylvania, the legal profession and the public and take such other action as
may be necessary to effectuate this Recommendation.



*Unanimously approved, as amended, by the Board of Governors November 16, 2016.
**Approved, as amended, by the House of Delegates November 18, 2016.




                                             Report

       The PBA Women in the Profession Commission makes this Recommendation because:

        The PBA has recognized its commitment to equa l justice for all, the responsibility to the
public good, the promotion of diversity in the legal profess ion and has historically maintained
that diversity and inclusion are core values of the PBA. On May 3, 1996, the PBA House of
Delegates approved an amendment to Rule 8.4 proposed by the PBA Gender Education
Committee that would make it professional misconduct for a lawyer to "engage in sexual
harassment in the practice of law." The proposed amendment, which was fully supported by the
PBA Women in the Profession and the Joint Task Force to Ensure Gender Fairness in the Courts,
was transmitted to the Supreme Court of Pennsylvania for consideration and adoption in October
1996. In 1999, the PBA renewed its request to the Supreme Court for an amendment to Rule 8.4
that would expand the prohibition to include other discrimination on the basis of sex, race or
ethnicity in the practice of law.

       The PBA has maintained a policy of not discriminating in employment and its activities.
In April of 2006 it reaffirmed its non-discrimination policy and specifically adopted a written
policy promoting diversity throughout the Association in a Resolution approved by the PBA
House of Delegates on June 9, 2006.

       The PBA has developed a Diversity and Inclusion Plan with its stated goal of a genuine,
sustainable diverse and inclusive environment within the PBA and throughout its membership.
Reflecting its steadfast commitment to the achievement of diversity and inc lusion, the Plan
demonstrates the goals, metrics and reporting mechanisms to ensure the Association fu lfills its
commitment to advancing diversity and inclusion in the legal profess ion.
       The PBA has many active committees devoted to diversity and inc lusion, inc luding the
Minority Bar Committee, the GLBT Rights Committee, the Civil and Equa l Rights Committee,
the Women in the Profession Commission, and the Diversity Team.

       The PBA Women in the Profession Commission's Mission Statement provides:

       The Commission on Women in the Profession shall assess the current status of
       women in the legal profession and identify barriers that prevent them from full
       participation in the work, responsibilities and rewards of the profession; make
       recommendations to the PBA Board of Governors and House of Delegates for
       action to solve problems the commission identifies and develop educational
       programs to address discrimination against women lawyers and the unique
       problems they encounter in pursu ing their professional careers .
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       The PBA Minority Bar Committee Mission Statement provides:

       The mission of the Minority Bar Committee ... is to assure full and equal
       participation of minorities in the PBA, the legal profession, and the justice system
       in general. In order to achieve this mission, the Minority Bar Committee will:

       I.      Identify and promote opportun ities that allow minorities within the legal
       profession to participate fu lly in the work, responsibilities, and rewards of the
       PBA and the legal profession in general. Included in this obj ective are matters
       relating to the advancement of minorities within law firm s and other professional
       and business entities, job opportunities for minorities, elimination of racial
       discrimination in the legal profession and within the broader community, and
       effective avenues for minority lawyers and judges to avail themselves of
       oppo1t unities within the PBA to address issues of special interest to minority
       lawyers.

      2.      Monitor the current status of minorities in the legal profession and the
      justice system in general, identify their career paths and goals, and actively
      promote their advancement and achievement.

       3.      Develop educational programs in the way of seminars and surveys, among
       other measures, to address discrimination again st minorities with in the lega l
       profession, and the justice system in general.

      4.      Make recommendations to the PBA Board of Governors and House of
      Delegates for action on issues affecting minorities within the legal profession and
      the justice system in general.

      5.      Make recommendations to the judicial, legislative, and executi ve branches
      of government, and other groups within the justice system on issues affecting
      racial minorities and their communities in accordance with the PB A Bylaws.


The PBA GLBT Rights Committee Mission Statement provides:

      The GLBT Rights Comm ittee shall study matters pertaining to the recognition
      and protection of the legal rights of the gay, lesbian, bisexual and transgender
      (GLBT) community. The committee will monitor and make recommendations on
      issues and developments in the Jaw impacting GLBT people in the public and the
      legal profess ion.

The PBA Civil and Equal Rights Committee Mission Statement provides:

      The Civil and Equal Rights Committee shall promote and defend civil rights and
      responsibilities, fair treatment and equal opportunity for all individuals and the
      avoidance and elimination of wrongful discrimination and unfair bias by (a)
      monitoring actual and proposed legislation, litigation, rules of conduct and
      procedures and other relevant developments; (b) educating the legal community
      and the public; and (c) making proposals and recommendations to advance and
      effect the goals of the committee.


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       In 1994, the Civil and Equal Rights Committee (CERC) was formed from two
       pre-existing PBA Committees - the Civil Rights and Responsibilities Committee
       and the Equal Rights Committee. The Equal Rights Committee dealt with issues
       affecting women. The Civil Rights Comm ittee focused on issues involving
       "protected classes" and Section 1983 actions. Because there was overlap of
       membership and substantive issues, and due to budgetary constraints, the two
       committees were combined into the present-day CERC.

The PBA Diversity Team mission statement provides:

       The PBA Diversity Team establishes resources and forums for enhanced
       communication among PBA groups with diversity initiatives. The Diversity Team
       is committed to work collaboratively with PBA leadership, staff and all other
       PBA-related groups and entities, including the Pennsylvania Bar Foundation, the
       Pennsylvania Bar Insurance Fund and Trust Fund, PABAR-PAC and the
       Pennsylvania Bar Institute, to promote and enhance diversity. Each member of the
       Diversity Team (Diversity Ambassadors) works collaboratively with PBA groups
       to promote and enhance their existing diversity initiatives and/or assist with
       creating new opportunities.

        The American Bar Association has long recognized its responsibility to represent the
legal profession and promote the public's interest in equal justice for all. Since 1983, when the
Model Rules of Professional Conduct ("Model Rules") were first adopted by the Association,
they have been an invaluable tool through which the Association has met these dual
responsibilities and led the way toward a more just, diverse and fair legal system. Lawyers,
judges, law students and the public across the country and around the world look to the ABA for
this leadership.

        Since 1983, the ABA has also spearheaded other efforts to promote diversity and
fairness. In 2008 the ABA reformulated its objectives into four major "Goals" that were adopted
by the House of Delegates. Goal III is entitled, "Eliminate Bias and Enhance Diversity." It
includes the fo llowing two objectives: l. Promote fu ll and equal participation in the association,
our profession, and the justice system by all persons. 2. Eliminate bias in the legal profession and
the justice system.

        In February 1998, the Criminal Justice Section and SCEPR (Standing Comm ittee on
Ethics and Professional Responsibility) of the ABA developed separate proposals to add a new
anti-discrimination provision into the ABA Model Rules. These proposals were then combined
into Comment (3] to Model Rule 8.4, which was adopted by the House of Delegates at the
ABA's Annual Meeting in August 1998.

       Comments are not Rules; they have no authority as such. Authority is found only in the
language of the Rules. The Comments are intended as guides to interpretation, but the text of
each Rule is authoritative.

      The ABA House of Delegates resoundingly passed Resolution 109 at its meeting on
August 8, 2016, which added (g) to Rule 8.4: Misconduct, which provides as follows:

       "RESOLVED, That the American Bar Association amends Rule 8.4 and
       Comment of the ABA Model Rules of Professional Conduct as follows:

       Rule 8.4: Misconduct

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       It is professional misconduct for a lawyer to:

               (g) engage in conduct that the lawyer knows or reasonably should know is
       harassment or discrimination on the basis of race, sex, religion, national origin,
       ethnicity, disability, age, sexual orientation, gender identity, marital status or
       socioeconomic status in conduct related to the practice of law. This paragraph
       does not limit the ability of a lawyer to accept, decline, or withdraw from a
       representation in accordance with Rule 1.16. This paragraph does not preclude
       legitimate advice or advocacy consistent with these rules."

      [The WIP recommends that the) +he additional Comments to ABA Model Rule 8.4
accompanying subpart (g) [be adopted with the following amendments] pro·1ide as follows:


       [3] Discrimination and harassment by lawyers in violation of paragraph (g)
       undermine confidence in the legal profession and the legal system. Such
       discrimination includes harmful verbal or physical conduct that manifests bias or
       prejudice towards others. Harassment includes sexual harassment and derogatory
       or demeaning verbal or physical conduct. Sexual harassment includes unwelcome
       sexual advances, requests for sexual favors, and other unwelcome verbal or
       physical conduct of a sexual nature. The substantive law of antidiscrimination and
       anti-harassment statutes and case law may guide application of paragraph (g) .
       [This Rule does not serve to expand upon or limit a claimant's available
       rights or remedies under other law governing harassment or discrimination.]

       [4] Conduct related to the practice oflaw includes representing clients; interacting
       with witnesses, coworkers, court personnel, lawyers and others while engaged in
       the practice of law; operating or managing a law firm or law practice; and
       participating in bar association, business or social activities in connection with the
       practice of law. Lawyers may engage in conduct undertaken to promote diversity
       and inclusion without violating this Rule by, for example, implementing
       initiatives aimed at recruiting, hiring, retaining and advancing diverse employees
       or sponsoring diverse law student organizations.

       [5] A trial judge's finding that peremptory challenges were exercised on a
       discriminatory basis does not alone establish a violation of paragraph (g) . A
       lawyer does not violate paragraph (g) by limiting the scope or subject matter of
       the lawyer's practice or by limiting the lawyer's practice to members of
       underserved populations in accordance with these Rules and other law. A lawyer
       may charge and collect reasonable fees and expenses for a representation. Rule
       l .5(a). Lawyers also should be mindful of their professional obligations under
       Rule 6.1 to provide legal services to those who are unable to pay, and their
       obligation under Rule 6.2 not to avoid appointments from a tribunal except for
       good cause. See Rule 6.2(a), (b) and (c) . [This Rule does not require a lawyer
       to accept or reject the representation of any prospective client who is a
       member of any of the referenced classifications.] A lawyer's representation of a
       client does not constitute an endorsement by the lawyer of the client's views or
       activities. See Rule l .2(b).

       On October 26, 2016, acting on the recommendation of its Women in the Profession and
Professional Responsibility Committees, the Philadelphia Bar Association Board of Governors

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unanimously adopted a " Resolution Supporting Adoption by the Pennsylvania Supreme Court of
the Amendment to ABA Model Rule 8.4." [Leadership of WIP has conferred with leadership
of the Legal Ethics and Professional Responsibility Committee. Both Committees agree
with the proposed amendment to Rule 8.4 and its accompanying Comments as set forth
herein.]

       The Pennsylvania Bar Association has repeatedly stated that diversity and inclusion are
core values of the Pennsylvania Bar Association through the Diversity and Inclusion Plan and
elsewhere.

      The PBA has expressed its support of the diversity mission which is stated in Goal III of
the ABA and its inclusion in this Association's Statement of Diversity Principles.



                                                   Respectfully Submitted,

                                                   Mary Kate Coleman, Esq.
                                                   Jessie L. Smith
                                                   Co-Chairs
                                                   PBA Women in the Profession Commission
                                                   Revised November 14, 2016




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Attachment B
       fhc 'ic'" nprcsscd herein h;n c not been approHd b~ the House of Delegates or the Board of GO\ em ors of
       the American Har Association and. acconlingl~. should not be construed as rcprc-.cnting the polic) of the
       American Bar Association.

                                                                                  REVISED 109

                                       AMERICAN BAR ASSOCIATION

         STANDING COMMITTEE ON ETHICS AND PROFESSIONAL RESPONSIBILITY
                   SECTION OF CIVIL RIGHTS AND SOCIAL JUSTICE
                       COMMISSION ON DISABILITY RIGHTS
                     DIVERSITY & INCLUSION 360 COMMISSION
          COMMISSION ON RACIAL AND ETHNIC DIVERSITY IN THE PROFESSION
            COMMISSION ON SEXUAL ORIENTATION AND GENDER IDENTITY
                    COMMISSION ON WOMEN IN THE PROFESSION

                                REPORT TO THE HOUSE OF DELEGATES

                                            REVISED RESOLUTION

   1   RESOLVED, That the American Bar Association amends Rule 8.4 and Comment of the ABA
   2   Model Rules of Professional Conduct as follows (insertions underlined, deletions struck through):
   3
   4   Rule 8.4: Misconduct
   5
   6   It is professional misconduct for a lawyer to:
   7
   8          (a) violate or attempt to violate the Rules of Professional Conduct, knowingly assist or
   9   induce another to do so, or do so through the acts of another;
  10
  11           (b) commit a criminal act that reflects adversely on the lawyer's honesty, trustworthiness
  12   or fitness as a lawyer in other respects;
  13
  14           (c) engage in conduct involving dishonesty, fraud, deceit or misrepresentation;
  15
  16           (d) engage in conduct that is prejudicial to the administration of justice;
  17
  18          (e) state or imply an ability to influence improperly a government agency or official or to
  19   achieve results by means that violate the Rules of Professional Conduct or other law; ef
  20
  21           (f) knowingly assist a judge or judicial officer in conduct that is a violation of applicable
  22   rules of judicial conduct or other law; or
  23
  24            filGngage in conduct that th~ !av.\ 1,~J knQ.\.\.S or rcasonabl' should knQ\.\. i~ harassment or
  25   discriminatiQil harass or discriminate on the basis of race, sex, religion, national origin, ethnicity,
  26   disability, age, sexual orientation, gender identity, marital status or socioeconomic status in
  27   conduct related to the practice of law. This Pctt!e paragraph does not limit the ability of a lawyer
  28   to accept, decline or withdraw from a representation in accordance with Rule 1.16. Thi~J]JH'aJ.mm.h
  29   dQc.s_ not_prccludc legitimate adyi~~- Qr adyQc_a~___consistent with th~G. R_ylc__s_,

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     The vie''' e'\pressed herein haH not been approHcl h~ the House of Delegates or the Board of Go\Crnors of
     the \merican Bar Association and, according!~, shou Id not be construed as representing the polic~ of the
     American Bar \ssociation.

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30   Comment
31
32   [1] Lawyers are subject to discipline when they violate or attempt to violate the Rules of
33   Professional Conduct, knowingly assist or induce another to do so or do so through the acts of
34   another, as when they request or instruct an agent to do so on the lawyer's behalf. Paragraph (a),
35   however, does not prohibit a lawyer from advising a client concerning action the client is legally
36   entitled to take.
37
38   [2] Many kinds of illegal conduct reflect adversely on fitness to practice law, such as offenses
39   involving fraud and the offense of willful failure to file an income tax return. However, some kinds
40   of offenses carry no such implication. Traditionally, the distinction was drawn in terms of offenses
41   involving "moral turpitude." That concept can be construed to include offenses concerning some
42   matters of personal morality, such as adultery and comparable offenses, that have no specific
43   connection to fitness for the practice of law. Although a lawyer is personally answerable to the
44   entire criminal law, a lawyer should be professionally answerable only for offenses that indicate
45   lack of those characteristics relevant to law practice. Offenses involving violence, dishonesty,
46   breach of trust, or serious interference with the administration of justice are in that category. A
47   pattern of repeated offenses, even ones of minor significance when considered separately, can
48   indicate indifference to legal obligation.
49
50   [3] A lawyer v1ho, in the course of representing a client, knowingly manifests by words or conduct,
51   bias or prejudice based upon race, seM, religion, national origin, disability, age, se>mal orientation
52   or socioeconomic status, violates paragraph (d) when such actions are prejudicial to the
53   administration ofjustice. Legitimate advocacy respecting the foregoing factors does not violate
54   paragraph (d). A trial judge's finding that peremptory challenges were e>(ercised on a
55   discriminatory basis does not alone establish a violation of this rule.
56
57   [3] Discrimination and harassment by lawyers in violation of paragraph (g) undermines confidence
58   in the legal profession and the legal system. Such discrimination includes harmful verbal or
59   physical conduct that manifests bias or prejudice towards others because of their membership or
60   perceived membership in one or more of the groups listed in paragraph (g). Harassment includes
61   sexual harassment and derogatory or demeaning verbal or physical conduct towards a person who
62   is, or is perceived to be, a member of one of the groups. Sexual harassment includes unwelcome
63   sexual advances, requests for sexual favors. and other unwelcome verbal or physical conduct of a
64   sexual nature. The substantive law of antidiscrimination and anti-harassment statutes and case law
65   may guide application of paragraph (g).
66
67   [41 Conduct related to the practice of law includes representing clients; interacting with witnesses,
68   coworkers. court personnel, lawyers and others while engaged in the practice of law; operating or
69   managing a law firm or law practice; and participating in bar association, business or social
70   activities in connection with the practice of law. Paragraph (g) does not prohibit conduct
71   undertaken to promote diversity. I.a~\ ers mm engage in conduct undertaken to promQtc dh:crsity
72   and inclusi!)n without violating this Ruic ~for example. implementing initiatiycs <J_j111~_d__g1

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     The \iens e'\pressed herein ha\C not been appro\ed b) the House of Delegates or the Board of Gonrnors of
     the American Bar Association and. accordingl~, should not be construed as representing the polic~ of the
     American Bar Association.

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74   Qt:gi:'lnizatiQns.
75
76   [5] Paragraph (g) does not prohibit legitimate advoeaey that is material and relevant to factual or
77   legal issues or arguments in a representation. A trial judge's finding that pcrcmptorv challenges
78   were exercised on a discriminatory basis does not alone establish a violation of paragraph (g). A
79   lawyer does not violate paragraph (g) by limiting the scope or subject matter of the lawyer's
80   practice or by limiting the lawyer's practice to members of underserved populations in
81   accordance with these Rules and other law. A lawyer may charge and collect reasonable fees
82   and expenses for a representation. Rule 1.5(a). Lawyers also should be mindful of their
83   professional obligations under Rule 6.1 to provide legal services to those who are unable to pay,
84   and their obligation under Rule 6.2 not to avoid appointments from a tribunal except for good
85   cause. See Rule 6.2(a), (b) and (c). A lawyer's representation of a client does not constitute an
86   endorsement by the lawyer of the client' s views or activities. See Rule l.2(b).
87
88   f41 Ifil_A lawyer may refuse to comply with an obligation imposed by law upon a good faith belief
89   that no valid obligation exists. The provisions of Rule 1.2( d) concerning a good faith challenge to
90   the validity, scope, meaning or application of the law apply to challenges of legal regulation of the
91   practice of law.
92
93   W filLawyers holding public office assume legal responsibilities going beyond those of other
94   citizens. A lawyer's abuse of public office can suggest an inability to fulfill the professional role
95   of lawyers. The same is true of abuse of positions of private trust such as trustee, executor,
96   administrator, guardian, agent and officer, director or manager of a corporation or other
97   organization.




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                                                       REPORT

          "Lawyers have a unique position in society as professionals responsible for making
          our society better. Our rules of professional conduct require more than mere
          compliance with the law. Because of our unique position as licensed professionals
          and the power that it brings, we are the standard by which all should aspire.
          Discrimination and harassment ... is, and unfortunately continues to be, a problem
          in our profession and in society. Existing steps have not been enough to end such
          discrimination and harassment. "

          ABA President Paulette Brown, February 7, 2016 public hearing on amendments
          to ABA Model Rule 8.4, San Diego, California.

     I.            Introduction and Background

The American Bar Association has long recognized its responsibility to represent the legal
profession and promote the public 's interest in equal justice for all. Since 1983, when the Model
Rules of Professional Conduct ("Model Rules") were first adopted by the Association, they have
been an invaluable tool through which the Association has met these dual responsibilities and led
the way toward a more just, diverse and fair legal system. Lawyers, judges, law students and the
public across the country and around the world look to the ABA for this leadership.

Since 1983, the Association has also spearheaded other efforts to promote diversity and fairness .
In 2008 ABA President Bill Neukum led the Association to reformulate its objectives into four
major " Goals" that were adopted by the House of Delegates. 1 Goal III is entitled, "Eliminate Bias
and Enhance Diversity." It includes the following two objectives:

    1.    Promote full and equal participation in the association, our profession, and the justice
          system by all persons.
    2.    Eliminate bias in the legal profession and the justice system.

A year before the adoption of Goal III the Association had already taken steps to address the second
Goal III objective. In 2007 the House of Delegates adopted revisions to the Model Code of Judicial
Conduct to include Rule 2.3 , entitled, "Bias, Prejudice and Harassment." This rule prohibits judges
from speaking or behaving in a way that manifests, "bias or prejudice," and from engaging in
harassment, " based upon race, sex, gender, religion, national origin, ethnicity, disability, age,
sexual orientation, marital status, socioeconomic status, or political affiliation." It also calls upon
judges to require lawyers to refrain from these activities in proceedings before the court. 2 This
current proposal now before the House will further implement the Association's Goal III objectives
by placing a similar provision into the Model Rules for lawyers.



1
  ABA MISSION AND GOALS, http://www.americanbar.org/about the aba/aba-mission-goals.html (last visited May
9, 20 16).
2
  Rule 2.3(C) of the ABA Model Code of Judicial Conduct reads: "A judge shall require lawyers in proceedings before
the court to refrain from manifesting bias or prejudice, or engaging in harassment, based upon attributes including but
not limited to race, sex, gender, religion, national origin, ethnicity, disability, age, sexual orientation, marital status,
socioeconomic status, or political affiliation, against parties, witnesses, lawyers, or others."

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When the Model Rules were first adopted in 1983 they did not include any mention of or reference
to bias, prejudice, harassment or discrimination. An effort was made in 1994 to correct this
omission; the Young Lawyers Division and the Standing Committee on Ethics and Professional
Responsibility (SCEPR") each proposed language to add a new paragraph (g) to Rule 8.4,
"Professional Misconduct," to specifically identify bias and prejudice as professional misconduct.
However, in the face of opposition these proposals were withdrawn before being voted on in the
House. But many members of the Association realized that something needed to be done to address
this omission from the Model Rules. Thus, four years later, in February 1998, the Criminal Justice
Section and SCEPR developed separate proposals to add a new antidiscrimination provision into
the Model Rules. These proposals were then combined into Comment [3] to Model Rule 8.4, which
was adopted by the House at the Association 's Annual Meeting in August 1998. This Comment
[3] is discussed in more detail below. Hereinafter this Report refers to current Comment [3] to 8.4
as "the current provision."

It is important to acknowledge that the current provision was a necessary and significant first step
to address the issues of bias, prejudice, discrimination and harassment in the Model Rules. But it
should not be the last step for the following reasons. It was adopted before the Association adopted
Goal III as Association policy and does not fully implement the Association's Goal III objectives.
It was also adopted before the establishment of the Commission on Sexual Orientation and Gender
Identity, one of the co-sponsors of this Resolution, and the record does not disclose the
participation of any of the other Goal III Commissions- the Commission on Women in the
Profession, Commission on Racial and Ethnic Diversity in the Profession, and the Commission on
Disability Rights- that are the catalysts for these current amendments to the Model Rules.

Second, Comments are not Rules; they have no authority as such. Authority is found only in the
language of the Rules. "The Comments are intended as guides to interpretation, but the text of each
Rule is authoritative." 3

Third, even if the text of the current provision were in a Rule it would be severely limited in scope:
It applies (i) only to conduct by a lawyer that occurs in the course of representing a client, and (ii)
only if such conduct is also determined to be "prejudicial to the administration of justice." As the
Association's Goal III Commissions noted in their May 2014 letter to SCEPR:

          It [the current provision] addresses bias and prejudice only within the scope oflegal
          representation and only when it is prejudicial to the administration of justice. This
          limitation fails to cover bias or prejudice in other professional capacities (including
          attorneys as advisors, counselors, and lobbyists) or other professional settings (such
          as law schools, corporate law departments, and employer-employee relationships
          within law firms) . The comment also does not address harassment at all, even
          though the judicial rules do so.

In addition, despite the fact that Comments are not Rules, a false perception has developed over
the years that the current provision is equivalent to a Rule. In fact, this is the only example in the
Model Rules where a Comment is purported to "solve" an ethical issue that otherwise would
require resolution through a Rule. Now- thirty-three years after the Model Rules were first


3
    MODEL RULES OF PROF'L CONDUCT, Preamble & Scope [21) (2016).

                                                     2
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adopted and eighteen years after the first step was taken to address this issue-it is time to address
this concern in the black letter of the Rules themselves. In the words of ABA President Paulette
Brown: "The fact is that skin color, gender, age, sexual orientation, various forms of ability and
religion still have a huge effect on how people are treated." 4 As the Recommendation and Report
of the Oregon New Lawyers to the Assembly of the Young Lawyers Division at the Annual
Meeting 20 15 stated: "The current Model Rules of Professional Conduct (the "Model Rules"),
however, do not yet reflect the monumental achievements that have been accomplished to protect
clients and the public against harassment and intimidation." 5 The Association should now correct
this omission. It is in the public's interest. It is in the profession's interest. It makes it clear that
discrimination, harassment, bias and prejudice do not belong in conduct related to the practice of
law.

    II.          Process

Over the past two years, SCEPR has publicly engaged in a transparent investigation to determine,
first whether, and then how, the Model Rules should be amended to reflect the changes in law and
practice since 1998. The emphasis has been on open discussion and publishing drafts of proposals
to solicit feedback, suggestions and comments. SCEPR painstakingly took that feedback into
account in subsequent drafts, until a final proposal was prepared.

This process began on May 13, 2014 when SCEPR received a joint letter from the Association's
four Goal III Commissions: the Commission on Women in the Profession, Commission on Racial
and Ethnic Diversity in the Profession, Commission on Disability Rights, and the Commission on
Sexual Orientation and Gender Identify. The Chairs of these Commissions wrote to the SCEPR
asking it to develop a proposal to amend the Mode l Rules of Professional Conduct to better address
issues of harassment and discrimination and to implement Goal III. These Commissions explained
that the current provision is insufficient because it "does not facially address bias, discrimination,
or harassment and does not thoroughly address the scope of the issue in the legal profession or
legal system." 6

In the fall of 2014 a Working Group was formed under the auspices of SCEPR and chaired by
immediate past SCEPR chair Paula Frederick, chief disciplinary counsel for the State Bar of
Georgia. The Working Group members consisted of one representative each from SCEPR, the
Association of Professional Responsibility Lawyers ("APRL"), the National Organization of Bar
Counsel ("NOBC") and each of the Goal III Commissions. The Working Group held many
teleconference meetings and two in-person meetings. After a year of work Chair Frederick

4
  Paulette Brown, Inclusion Not Exclusion: Understanding Implicit Bias is Key to Ensuring An Inclusive Profession,
ABA J. (Jan. I, 2016, 4:00 AM),
http://www.abajournal.com/magazine/article/inclusion exclusion understanding imp Iicit bias is key to ensuring.
5 In August 20 15, unaware that the Standing Committee on Ethics and Professional Responsibility was researching

this issue at the request of the Goal Ill Commissions, the Oregon State Bar New Lawyers Division drafted a proposal
to amend the Model Rules of Professional Conduct to include an anti-harassment provision in the black letter. They
submitted their proposal to the Young Lawyers Division Assembly for consideration. The Young Lawyers Division
deferred on the Oregon proposal after learning of the work of the Standing Committee on Ethics and Professional
Responsibility and the Goal III Commissions.
6
  Letter to Paula J. Frederick, Chair, ABA Standing Committee on Ethics and Professional Responsibility 20 11-
2014.

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                                                                                  REVISED 109
presented a memorandum of the Working Group's deliberations and conclusions to SCEPR in
May 2015. In it, the Working Group concluded that there was a need to amend Model Rule 8.4 to
provide a comprehensive antidiscrimination provision that was nonetheless limited to the practice
of law, in the black letter of the rule itself, and not just in a Comment.

On July 8, 2015, after receipt and consideration of this memorandum, SCEPR prepared, released
for comment and posted on its website a Working Discussion Draft of a proposal to amend Model
Rule of Professional Conduct 8.4. SCEPR also announced and hosted an open invitation
Roundtable discussion on this Draft at the Annual Meeting in Chicago on July 31 , 2015.

At the Roundtable and in subsequent written communications SCEPR received numerous
comments about the Working Discussion Draft. After studying the comments and input from the
Roundtable, SCEPR published in December 2015 a revised draft of a proposal to add Rule 8.4(g),
together with proposed new Comments to Rule 8.4. SCEPR also announced to the Association,
including on the House of Delegates listserv, that it would host a Public Hearing at the Midyear
Meeting in San Diego in February 2016. 7 Written comments were also invited. 8 President Brown
and past President Laurel Bellows were among those who testified at the hearing in support of
adding an antidiscrimination provision to the black letter Rule 8.4.

After further study and consideration SCEPR made substantial and significant changes to its
proposal, taking into account the many comments it received on its earlier drafts.

    III.          Need for this Amendment to the Model Rules

As noted above, in August 1998 the American Bar Association House of Delegates adopted the
current provision: Comment [3] to Model Rule of Professional Conduct 8.4, Misconduct, which
explains that certain conduct may be considered " conduct prejudicial to the administration of
justice," in violation of paragraph ( d) to Rule 8.4, including when a lawyer knowingly manifests,
by words or conduct, bias or prejudice against certain groups of persons, while in the course of
representing a client but only when those words or conduct are also "prejudicial to the
administration of justice."

Yet as the Preamble and Scope of the Model Rules makes clear, " Comments do not add obligations
to the Rules but provide guidance for practicing in compliance with the Rules." 9 Thus, the ABA
did not squarely and forthrightly address prejudice, bias, discrimination and harassment as would
have been the case if this conduct were addressed in the text of a Model Rule. Changing the
Comment to a black letter rule makes an important statement to our profession and the public that
the profession does not tolerate prejudice, bias, discrimination and harassment. It also clearly puts
lawyers on notice that refraining from such conduct is more than an illustration in a comment to a
rule about the administration of justice. It is a specific requirement.

7
  American Bar Association Public Hearing (Feb. 7, 2016),
http://www.americanbar.org/content/dam/aba/adm in istrative/professional responsibil ity/aha model ru le%208 4 c
omments/ februarv 20 16 public hearing transcript.authcheckdam .pdf.
8
  MODEL RULE OF PROFESSIONAL CONDUCT 8.4 DEC. 22 DRAFT PROPOSAL COMMENTS RECEIVED,
http://www.americanbar.org/groups/profess ion al responsibiI ity/comm ittees comm issions/eth icsandprofess ionalresp
onsibility/modru leprofconduct8 4.htm l (last visited May 9. 2016).
9
  MODEL RULES OF PROF'L CONDUCT, Preamble & Scope [14] & [21] (2016).

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                                                                                   REVISED 109
Therefore, SCEPR, along with its co-sponsors, proposes amending ABA Model Rule of
Professional Conduct 8.4 to further implement Goal III by bringing into the black letter of the
Rules an antidiscrimination and anti-harassment provision. This action is consistent with other
actions taken by the Association to implement Goal III and to eliminate bias in the legal profession
and the justice system.

For example, in February 2015, the ABA House of Delegates adopted revised ABA Standards for
Criminal Justice: Prosecution Function and Defense Function, which now include anti-bias
provisions. These provisions appear in Standards 3-1.6 of the Prosecution Function Standards, and
Standard 4 .16 of the Defense Function Standards. 10 The Standards explain that prosecutors and
defense counsel should not, "manifest or exercise, by words or conduct, bias or prejudice based
upon race, sex, religion, national origin, disability, age, sexual orientation, gender identity or
socioeconomic status." This statement appears in the black letter of the Standards, not in a
comment. And, as noted above, one year before the adoption of Goal III, the Association directly
addressed prejudice, bias and harassment in the black letter of Model Rule 2.3 in the 2007 Model
Code of Judicial Conduct.

Some opponents to bringing an antidiscrimination and anti-harassment provision into the black
letter of the Model Rules have suggested that the amendment is not necessary-that the current
provision provides the proper level of guidance to lawyers. Evidence from the ABA and around
the country suggests otherwise. For example:

    •    Twenty-five jurisdictions have not waited for the Association to act. They have already
         concluded that the current Comment to an ABA Model Rule does not adequately address
         discriminatory or harassing behavior by lawyers. As a result, they have adopted
         antidiscrimination and/or anti-harassment provisions into the black letter of their rules of
         professional conduct. 11 By contrast, only thirteen jurisdictions have decided to address this




io ABA FOURTH EDITION CRIMINAL JUSTICE STANDA RDS FOR THE PROSECUTION FUNCTION,
http://www.americanbar.org/groups/criminal justice/standards.html (last visited May 9. 20 16); ABA FOURTH
EDITION CRIMINAL JUSTICE STANDARDS FOR THE DEFENSE FUNCTION,
http://www.americanbar.org/groups/criminal justice/standards/DefenseFunctionFourthEdition.html (last visited
Mav 9. 2016).
11
   See California Rule of Pro fl Conduct 2-400; Colorado Rule of Prof I Conduct 8.4(g); Florida Rule of Pro f l Conduct
4-8.4(d); Idaho Rule of Prof I Conduct 4.4 (a); Illinois Rule of Prof I Conduct 8.4U); Indiana Rule of Profl Conduct
8.4(g); Iowa Rule of Profl Conduct 8.4(g); Maryland Lawyers' Rules of Profl Conduct 8.4(e); Massachusetts Rule
of Profl Conduct 3.4(i); Michigan Rule of Profl Conduct 6.5; Minnesota Rule of Profl Conduct 8.4(h); Missouri
Rule of Prof 1Conduct 4-8.4(g); Nebraska Rule of Prof I Conduct 8.4(d); New Jersey Rule of Prof I Conduct 8.4(g);
New Mexico Rule of Profl Conduct 16-300; New York Rule of Profl Conduct 8.4(g); North Dakota Rule of Prof I
Conduct 8.4(t); Ohio Rule of Prof I Conduct 8.4(g); Oregon Rule of Prof I Conduct 8.4(a)(7); Rhode Island Rule of
Profl Conduct 8.4(d); Texas Rule of Profl Conduct 5.08; Vermont Rule of Prof I Conduct 8.4(g); Washington Rule
of Prof! Conduct 8.4(g); Wisconsin Rule of Profl Conduct 8.4(i); D.C. Rule of Profl Conduct 9. 1.

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           issue in a Comment similar to the current Comment in the Model Rules. 12 Fourteen states
           do not address this issue at all in their Rules of Professional Conduct. 13
     •     As noted above, the ABA has already brought antidiscrimination and anti-harassment
           provisions into the black letter of other conduct codes like the ABA Standards for Criminal
           Justice: Prosecution Function and Defense Function and the 2007 ABA Model Code of
           Judicial Conduct, Rule 2.3.
     •     The Florida Bar's Young Lawyer's Division reported this year that in a survey of its female
           members, 43% of respondents reported they had experienced gender bias in their career. 14
     •     The supreme courts of the jurisdictions that have black letter rules with antidiscrimination
           and anti-harassment provisions have not seen a surge in complaints based on these
           provisions. Where appropriate, they are disciplining lawyers for discriminatory and
           harassing conduct. 15

     IV.          Summary of Proposed Amendments

              A. Prohibited Activity

SCEPR's proposal adds a new paragraph (g) to Rule 8.4, to prohibit conduct by a lawyer related
to the practice of law that harasses or discriminates against members of specified groups. New
Comment [3] defines the prohibited behavior.

12
   See Arizona Rule of Prof I Conduct 8.4, cmt.; Arkansas Rule of Prof I Conduct 8.4, cmt. [3]; Connecticut Rule of
Prof I Conduct 8.4, Commentary; Delaware Lawyers' Rule of Prof! Conduct 8.4, cmt. [3]; Idaho Rule of Prof!
Conduct 8.4, cmt. [3]; Maine Rule of Prof I Conduct 8.4, cmt. [3]; North Carolina Rule of Prof I Conduct 8.4, cmt.
[5]; South Carolina Rule of Prof I Conduct 8.4, cmt. [3]; South Dakota Rule of Prof I Conduct 8.4, cmt. [3] ; Tennessee
Rule of Prof I Conduct 8.4, cmt. [3]; Utah Rule of Prof I Conduct 8.4, cmt. [3] ; Wyoming Rule of Prof I Conduct 8.4,
cmt. [3] ; West Virginia Rule of Prof I Conduct 8.4, cmt. [3].
13
   The states that do not address this issue in their rules include Alabama, Alaska, Georgia, Hawaii, Kansas, Kentucky,
Louisiana, Mississippi, Montana, Nevada, New Hampshire, Oklahoma, Pennsylvania, and Virginia.
14
   The Florida Bar, Results ofthe 2015 YLD Survey on Women in the legal Profession (Dec. 20 15),
http://www.tloridabar.org/TFB/TF B Resources. nsf/ Attachments/ 13 A C70-l8340 I E7C78525 7 F640064CF 63/$FI LE/ R
ESU LTS~o200F%2020 I 5%20SURVEY.pdf'?OpenElement.
15
   In 20 15 the Iowa Supreme Court disciplined a lawyer for sexually harassing four female clients and one female
employee. In re Moothart, 860 N.W.2d 598 (20 15). The Wisconsin Supreme Court in 20 14 disciplined a district
attorney for texting the victim of domestic abuse writing that he wished the victim was not a client because she was
"a cool person to know." On one day, the lawyer sent 19 text messages asking whether the victim was the "kind of
girl who likes secret contact with an older married e lected DA ... the riskier the better." One day later, the lawyer
sent the victim 8 text messages telling the victim that she was pretty and beautiful and that he had a $350,000 home.
In re Kratz, 851 N. W.2d 219(2014). The Minnesota Supreme Court in 2013 disciplined a lawyer who, while acting
as an adjunct professor and supervising law students in a clinic, made unwelcome comments about the student's
appearance; engaged in unwelcome physical contact of a sexual nature with the student; and attempted to convince
the student to recant complaints she had made to authorities about him. In re Griffith, 838 N. W.2d 792 (20 13). The
Washington Supreme Court in 2012 disciplined a lawyer, who was representing his wife and her business in dispute
with employee who was Canadian. The lawyer sent two ex parte communications to the trial judge asking questions
like: are you going to believe an alien or a U.S. citizen? In re McGrath, 280 P.3d I091 (2012). The Indiana Supreme
Court in 2009 disciplined a lawyer who, while representing a father at a child support modification hearing, made
repeated disparaging references to the facts that the mother was not a U.S. citizen and was receiving legal services at
no charge. In re Campiti, 937 N.E.2d 340 (2009). The Indiana Supreme Court in 2005 disciplined a lawyer who
represented a husband in an action for dissolution of marriage. Throughout the custody proceedings the lawyer
refe rred to the wife being seen around town in the presence of a "black male" and that such association was placing
the children in harm's way. During a hearing, the lawyer referred to the African-American man as " the black guy"
and " the black man." In re Thomsen, 837 N.E.2d 1011 (2005).

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Proposed new black letter Rule 8.4(g) does not use the terms " manifests .. . bias or prejudice" 16
that appear in the current provision. Instead, the new rule adopts the terms "harassment and
discrimination" that already appear in a large body of substantive law, antidiscrimination and anti-
harassment statutes, and case law nationwide and in the Model Judicial Code. For example, in new
Comment [3], "harassment" is defined as including "sexual harassment and derogatory or
demeaning verbal or physical conduct .. .. of a sexual nature." This definition is based on the
language of Rule 2.3(C) of the ABA Model Code of Judicial Conduct and its Comment [4],
adopted by the House in 2007 and applicable to lawyers in proceedings before a court. 17

Discrimination is defined in new Comment [3] as " harmful verbal or physical conduct that
manifests bias or prejudice towards others." This is based in part on ABA Model Code of Judicial
Conduct, Rule 2.3, Comment [3], which notes that harassment, one form of discrimination,
includes "verbal or physical conduct," and on the current rule, which prohibits lawyers from
manifesting bias or prejudice while representing clients.

Proposed new Comment [3] also explains, "The substantive law of antidiscrimination and anti-
harassment statutes and case law may guide application of paragraph (g)." This provision makes
clear that the substantive law on antidiscrimination and anti-harassment is not necessarily
dispositive in the disciplinary context. Thus, conduct that has a discriminatory impact alone, while
possibly dispositive elsewhere, would not necessarily result in discipline under new Rule 8.4(g).
But, substantive law regarding discrimination and harassment can also guide a lawyer's conduct.
As the Preamble to the Model Rules explains, "A lawyer' s conduct should conform to the
requirements of the law, both in professional service to clients and in the lawyer' s business and
personal affairs." 18

             B. Knowledge Requirement

SCEPR has received substantial and helpful comment that the absence of a "mens rea" standard in
the rule would provide inadequate guidance to lawyers and disciplinary authorities. After
consultation with cosponsors, SCEPR concluded that the alternative standards "knows or
reasonably should know" should be included in the new rule. Consequently, revised Rule 8.4(g)
would make it professional misconduct for a lawyer to "engage in conduct that the lawyer knows
or reasonably should know is harassment or discrimination .... "

Both "knows" and "reasonably should know" are defined in the Model Rules. Rule 1.0(f) defines
" knows" to denote "actual knowledge of the fact in question. A person's knowledge may be
inferred from circumstances." The inference to be made in this situation is not what the lawyer
should or might have known, but whether one can infer from the circumstances what the lawyer
actually knew. Thus, this is a subjective standard; it depends on ascertaining the lawyer's actual
state of mind. The evidence, or "circumstances," may or may not support an inference about what
the lawyer knew about his or her conduct.

16
   The phrase, "manifestations of bias or prejudice" is utilized in proposed new Comment [3].
17
   ABA Model Code of Judicial Conduct Rule 2.3, Comment [4] reads: " Sexual harassment includes but is not limited
to sexual advances, requests for sexual favors, and other verbal or physical conduct of a sexual nature that is
unwelcome."
18
   MODEL RULES OF PROF' L CONDUCT, Preamble & Scope [5] (2016).

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Rule l .O(j) defines "reasonably should know" when used in reference to a lawyer to denote " that
a lawyer ofreasonable prudence and competence would ascertain the matter in question." The test
here is whether a lawyer of reasonable prudence and competence would have comprehended the
facts in question. Thus, this is an objective standard; it does not depend on the particular lawyer' s
actual state of mind. Rather, it asks what a lawyer of reasonable prudence and competence would
have comprehended from the circumstances presented.

SCEPR believes that any standard for the conduct to be addressed in Rule 8.4(g) must include as
alternatives, both the "knowing" and "reasonably should know" standards as defined in Rule 1.0.
As noted, one standard is a subjective and the other is objective. Thus, they do not overlap; and
one cannot serve as a substitute for the other. Taken together, these two standards provide a
safeguard for lawyers against overaggressive prosecutions for conduct they could not have
known was harassment or discrimination, as well as a safeguard against evasive defenses of
conduct that any reasonable lawyer would have known is harassment or discrimination.

There is also ample precedent for using the "knows or reasonably should know" formulation in
proposed Rule 8.4(g). It has been part of the Model Rules since 1983. Currently, it is used in Rule
l. l 3(f), Rule 2.3(b), Rule 2.4(b), Rule 3.6(a), Rule 4.3 [twice] and Rule 4.4(b).

"Harassment" and "discrimination" are terms that denote actual conduct. As explained in proposed
new Comment [3], both "harassment" and "discrimination" are defined to include verbal and
physical conduct against others. The proposed rule would not expand on what would be considered
harassment and discrimination under federal and state law. Thus, the terms used in the rule-
" harassment" and "discrimination"- by their nature incorporate a measure of intentionality while
also setting a minimum standard of acceptable conduct. This does not mean that complainants
should have to establish their claims in civil courts before bringing disciplinary claims. Rather, it
means that the rule intends that these words have the meaning established at law.

The addition of "knows or reasonably should know" as a part of the standard for the lawyer
supports the rule' s focus on conduct and resolves concerns of vagueness or uncertainty about what
behavior is expected of the lawyer.

           C. Scope of the Rule

Proposed Rule 8.4(g) makes it professional misconduct for a lawyer to harass or discriminate while
engaged in "conduct related to the practice of law" when the lawyer knew or reasonably should
have known the conduct was harassment or discrimination. The proposed rule is constitutionally
limited; it does not seek to regulate harassment or discrimination by a lawyer that occurs outside
the scope of the lawyer' s practice of law, nor does it limit a lawyer' s representational role in our
legal system. It does not limit the scope of the legal advice a lawyer may render to clients, which
is addressed in Model Rule 1.2. It permits legitimate advocacy. It does not change the
circumstances under which a lawyer may accept, decline or withdraw from a representation. To
the contrary, the proposal makes clear that Model Rule 1.16 addresses such conduct. The proposal
also does not limit a lawyer's ability to charge and collect a reasonable fee for legal services, which
remains governed by Rule 1.5.


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Note also that while the provision in current Comment [3 ] limits the scope of Rule 8.4(d) to
situations where the lawyer is representing clients, Rule 8.4( d) itself is not so limited. In fact,
lawyers have been disciplined under Rule 8.4(d) for conduct that does not involve the
representation of clients. 19

Some commenters expressed concern that the phrase, "conduct related to the practice of law," is
vague. "The definition of the practice of law is established by law and varies from one jurisdiction
to another." 20 The phrase "conduct related to" is elucidated in the proposed new Comments and is
consistent with other terms and phrases used in the Rules that have been upheld against vagueness
challenges. 21 The proposed scope of Rule 8.4(g) is similar to the scope of existing
antidiscrimination provisions in many states. 22

Proposed new Comment [4] explains that conduct related to the practice of law includes,
"representing clients; interacting with witnesses, coworkers, court personnel, lawyers and others
while engaged in the practice of law; operating or managing a law firm or law practice; and
participating in bar association, business or social activities in connection with the practice oflaw."
(Emphasis added.) The nexus of the conduct regulated by the rule is that it is conduct lawyers are
permitted or required to engage in because of their work as a lawyer.

The scope of proposed 8.4(g) is actually narrower and more limited than is the scope of other
Model Rules. " [T]here are Rules that apply to lawyers who are not active in the practice of law or
to practicing lawyers even when they are acting in a nonprofessional capacity." 23 For example,
paragraph ( c) to Rule 8.4 declares that it is professional misconduct for a lawyer to engage in
conduct "involving dishonesty, fraud , deceit or misrepresentation." Such conduct need not be


19
   See, e.g., Neal v. Clinton, 200 1 WL 34355768 (Ark. Cir. Ct. Jan. 19, 2001).
20
   MODEL RULES OF PROF' L CONDUCT R. 5.5 cmt. [2].
21
   See, e.g., Grievance Adm ' r v. Fieger, 7 19 N.E.2d 123 (Mich. 20 16) (rejecting a vagueness challenge to rules
requiring lawyers to "treat w ith courtesy and respect all person involved in the legal process" and prohibiting
" undignified or discourteous conduct toward [a] tribunal"); Chief Disciplinary Counsel v. Zelotes, 98 A.3d 852 (Conn.
2014) (rejecting a vagueness challenge to "conduct prejudicial to the administration of justice"); Florida Bar v. Von
Zamft, 814 So. 2d 385 (2002); In re Anonymous Member of South Carolina Bar, 709 S.E.2d 633 (2011) (rejecting a
vagueness challenge to the following required civility clause: " To opposing parties and their counsel, I pledge fairness,
integrity, and civility . .. . " ); Canatella v. Stovitz, 365 F.Supp.2d 1064 (N.D. Cal. 2005) (rejecting a vagueness
challenge to these terms regulating lawyers in the California Business and Profession Code: " willful," " moral
turpitude," "dishonesty," and "corruption"); Motley v. Virginia State Bar, 536 S.E.2d 97 (Va. 2000) (rejecting a
vagueness challenge to a rule requiring lawyers to keep client's " reasonably informed about matters in which the
lawyer' s services are being rendered"); In re Disciplinary Proceedings Against Beaver, 510 N.W.2d 129 (Wis. 1994)
(rejecting a vagueness challenge to a rule against "offensive personality").                                      I
22
   See Florida Rule of Professional Conduct 4-8.4(d) which addresses conduct " in connection with the practice of
law"; Indiana Rule of Prof' I Conduct 8 .4(g) which addresses conduct a lawyer undertakes in the lawyer' s "professional
capacity"; Iowa Rule of Prof' I Conduct 8.4(g) which addresses conduct " in the practice of law"; Maryland Lawyers'
Rules of Prof' I Conduct 8.4(e) with the scope of"when acting in a professio nal capacity" ; Minnesota Rule of Prof' I
Conduct 8.4(h) addressing conduct " in connection w ith a lawyer's profess ional activities"; New Jersey Rule of Prof' I
Conduct 8.4(g) addressing when a lawyer's conduct is performed " in a profess ional capacity" ; New York Rule of
Prof! Conduct 8.4(g) covering conduct " in the practice oflaw"; Ohio Rule of Prof' I Conduct 8.4(g) addressing when
lawyer "engage, in a professional capacity, in conduct"; Washington Rule of Prof'! Conduct 8.4(g) covering
"connection with the lawyer' s professional activities"; and Wisconsin Rule of Prof' I Conduct 8.4(i) with a scope of
conduct " in connection with the lawyer's professio nal activities."
23 MODEL RULES OF PROF'L CONDUCT, Preamble [3].


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related to the lawyer's practice of law, but may reflect adversely on the lawyer' s fitness to practice
law or involve moral turpitude. 24

However, insofar as proposed Rule 8.4(g) applies to " conduct related to the practice of law," it is
broader than the current provision. This change is necessary. The professional roles of lawyers
include conduct that goes well beyond the representation of clients before tribunals. Lawyers are
also officers of the court, managers of their law practices and public citizens having a special
responsibility for the administration justice.25 Lawyers routinely engage in organized bar-related
activities to promote access to the legal system and improvements in the law. Lawyers engage in
mentoring and social activities related to the practice of law. And, of course, lawyers are licensed
by a jurisdiction's highest court with the privilege of practicing law. The ethics rules should make
clear that the profession will not tolerate harassment and discrimination in any conduct related to
the practice of law.

Therefore, proposed Comment [4] explains that operating or managing a law firm is conduct
related to the practice of law. This includes the terms and conditions of employment. Some
commentators objected to the inclusion of workplace harassment and discrimination within the
scope of the Rule on the ground that it would bring employment law into the Model Rules . This
objection is misplaced. First, in at least two jurisdictions that have adopted an antidiscrimination
Rule, the provision is focused entirely on employment and the workplace. 26 Other jurisdictions
have also included workplace harassment and discrimination among the conduct prohibited in their
Rules. 27 Second, professional misconduct under the Model Rules already applies to substantive
areas of the law such as fraud and misrepresentation. Third, that part of the management of a law
practice that includes the solicitation of clients and advertising of legal services is already subjects
of regulation under the Model Rules. 28 And fourth, this would not be the first time the House of
Delegates adopted policy on the terms and conditions of lawyer employment. In 2007, the House
of Delegates adopted as ABA policy a recommendation that law firms should discontinue
mandatory age-based retirement polices,29 and earlier, in 1992, the House recognized that "sexual
harassment is a serious problem in all types of workplace settings, including the legal profession,
and constitutes a discriminatory and unprofessional practice that must not be tolerated in any work


24 MODEL RULES OF PROF'L CONDUCT R. 8.4 cmt. [2].
25 MODEL RULES OF PROF'L CONDUCT, Preamble [I] & [6] .
26 See D.C. Rule of Prof'I Conduct 9.1 & Vermont Rule of Prof'I Conduct 8.4(g). The lawyer population for

Washington DC is 52, 711 and Vermont is 2,326. Additional lawyer demographic in formation is available on the
American Bar Association website: http://www.americanbar.org/resources for lawyers/profession statistics.html.
27
    Other jurisdictions have specifically included workplace harassment and discrimination among the conduct
prohibited in their Rules. Some jurisdictions that have included workplace harassment and discrimination as
professional misconduct require a prior finding of employment discrimination by another tribunal. See California
Rule of Prof' I Conduct 2-400 (lawyer population 167,690); Illinois Rule of Prof' I conduct 8.4U) (lawyer population
63,060); New Jersey Rule of Prof' I Conduct 8.4(g) (lawyer population 41,569); and New York Rule of Prof' I Conduct
8.4(g) (lawyer population 175, 195). Some jurisdictions that have included workplace harassment and discrimination
as professional misconduct require that the conduct be unlawful. See, e.g., Iowa Rule of Prof' I Conduct 8.4(g) (lawyer
population of 7,560); Ohio Rule of Prof' I Conduct 8.4(g) (lawyer population 38,237); and Minnesota Rule of Prof' I
Conduct 8.4(h) (lawyer population 24,952). Maryland has included workplace harassment and discrimination as
professional misconduct when the conduct is prejudicial to the administration of justice. Maryland Lawyers' Rules of
Prof' I Conduct 8.4(e), cmt. [3] (lawyer population 24, 142).
28 See MODEL RULES OF PROFESSIONAL CONDUCT R. 7. 1 - 7.6.
29
   ABA HOUSE OF DELEGATES RESOLUTION IOA (Aug. 2007).

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environment. " 30 When such conduct is engaged in by lawyers it is appropriate and necessary to
identify it for what it is: professional misconduct.

This Rule, however, is not intended to replace employment discrimination law. The many
jurisdictions that already have adopted similar rules have not experienced a mass influx of
complaints based on employment discrimination or harassment. There is also no evidence from
these jurisdictions that disciplinary counsel became the tribunal of first resort for workplace
harassment or discrimination claims against lawyers. This Rule would not prohibit disciplinary
counsel from deferring action on complaints, pending other investigations or actions.

Equally important, the ABA should not adopt a rule that would apply to lawyers acting outside of
their own law firms or law practices but not to lawyers acting within their offices, toward each
other and subordinates. Such a dichotomy is unreasonable and unsupportable.

As also explained in proposed new Comment [4], conduct related to the practice of law includes
activities such as law firm dinners and other nominally social events at which lawyers are present
solely because of their association with their law firm or in connection with their practice of law.
SCEPR was presented with substantial anecdotal information that sexual harassment takes place
at such events. "Conduct related to the practice of law" includes these activities.

Finally with respect to the scope of the rule, some commentators suggested that because legal
remedies are available for discrimination and harassment in other forums, the bar should not permit
an ethics claim to be brought on that basis until the claim has first been presented to a legal tribunal
and the tribunal has found the lawyer guilty of or liable for harassment or discrimination.

SCEPR has considered and rejected this approach for a number of reasons. Such a requirement is
without precedent in the Model Rules. There is no such limitation in the current provision. Legal
ethics rules are not dependent upon or limited by statutory or common law claims. The ABA takes
pride in the fact that " the legal profession is largely self-governing." 31 As such, " a lawyer' s failure
to comply with an obligation or prohibition imposed by a Rule is a basis for invoking the
disciplinary process," not the civil legal system. 32 The two systems run on separate tracks.

The Association has never before required that a party first invoke the civil legal system before
filing a grievance through the disciplinary system. In fact, as a self-governing profession we have
made it clear that " [v ]iolation of a Rule should not itself give rise to a cause of action against a
lawyer nor should it create any presumption in such a case that a legal duty has been breached." 33
Thus, legal remedies are available for conduct, such as fraud, deceit or misrepresentation, which
also are prohibited by paragraph (c) to Rule 8.4, but a claimant is not required as a condition of
filing a grievance based on fraud, deceit or misrepresentation to have brought and won a civil
action against the respondent lawyer, or for the lawyer to have been charged with and convicted




3o ASA    H OUSE OF D ELEGATES RESOLUTION 11 7 (Feb. 1992).
31
     MODEL RULES OF PROFESSIONAL CONDUCT, Preamble & Scope [ JO].
32
     M ODEL R ULES OF PROFESSIONAL CONDUCT, Preamble & Scope [19].
33
     M ODEL R ULES OF PROFESSIONAL CONDUCT, Preamble & Scope [20].

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of a crime. 34 To now impose such a requirement, only for claims based on harassment and
discrimination, would set a terrible precedent and send the wrong message to the public.

In addition, the Model Rules of Professional Conduct reflect ABA policy. Since 1989, the ABA
House of Delegates has adopted policies promoting the equal treatment of all persons regardless
of sexual orientation or gender identity. 35 Many states, however, have not extended protection in
areas like employment to lesbian, gay, or transgender persons. 36 A Model Rule should not be
limited by such restrictions that do not reflect ABA policy. Of course, states and other jurisdictions
may adapt ABA policy to meet their individual and particular circumstances.

              D. Protected Groups

New Rule 8.4(g) would retain the groups protected by the current provision. 37 In addition, new
8.4(g) would also include "ethnicity," "gender identity," and "marital status." The
antidiscrimination provision in the ABA Model Code of Judicial Conduct, revised and adopted by
the House of Delegates in 2007, already requires judges to ensure that lawyers in proceedings
before the court refrain from manifesting bias or prejudice and from harassing another based on
that person's marital status and ethnicity. The drafters believe that this same prohibition also
should be applicable to lawyers in conduct related to the practice of law not merely to lawyers in
proceedings before the court.

"Gender identity" is added as a protected group at the request of the ABA's Goal III Commissions.
As used in the Rule this term includes "gender expression", which is a form of gender identity.
These terms encompass persons whose current gender identity and expression are different from
their designations at birth. 38 The Equal Employment Opportunities Commission interprets Title
VII as prohibiting discrimination against employees on the basis of sexual orientation and gender
identity. 39 In 20 15, the ABA House adopted revised Criminal Justice Standards for the Defense
Function and the Prosecution Function. Both sets of Standards explains that defense counsel and
prosecutors should not manifest bias or prejudice based on another's gender identity. To ensure
notice to lawyers and to make these provisions more parallel, the Goal III Commission on Sexual

34 E.g., People v. Odom, 94 I P.2d 919 (Colo. 1997) (lawyer disciplined for committing a crime for which he was
never charged).
35 A list of ABA policies supporting the expansion of civil rights to and protection of persons based on their sexual

orientation and gender identity can be found here:
http ://www.americanbar.org/groups/sexua I orientation/pol icy. htm I.
36 For a list of states that have not extended protection in areas like employment to LG BT individuals see:

https://www .ac lu .org/map/non-d iscrim ination-laws-state-state-information-map.
37
   Some commenters advised eliminating references to any specific groups from the Rule. SCEPR concluded that this
would risk including within the scope of the Rule appropriate distinctions that are properly made in professional life.
For example, a law firm or lawyer may display "geographic bias" by interviewing for employment only persons who
have expressed a willingness to relocate to a particular state or city. It was thought preferable to speci fically identify
the groups to be covered under the Rule.
38
   The U.S. Office of Personnel Management Diversity & Inclusion Reference Materials defines gender identity as
"the individual's internal sense of being male or female. The way an individual expresses his or her gender identity is
frequently called ' gender expression,' and may or may not conform to social stereotypes associated with a particular
gender." See Diversity & Inclusion Reference Materials, UNITED STATES OFFICE OF PERSONNEL MANAGEMENT,
https://ww\v.opm.gov /po Ii cy-data-overs ight/d ivers itv-and-inc Ius ion/reference-materi aIs/gender-identity-guidance/
(last visited May 9. 20 16).
39
   https://www .eeoc.gov/eeoc/newsroom/wysk/enforcement_protections_ lgbt_workers.cfm

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Orientation and Gender Identity recommended that gender identity be added to the black letter of
paragraph (g). New Comment [3] notes that applicable law may be used as a guide to interpreting
paragraph (g). Under the Americans with Disabilities Act discrimination against persons with
disabilities includes the failure to make the reasonable accommodations necessary for such person
to function in a work environment. 40

Some commenters objected to retaining the term "socioeconomic status" in new paragraph (g).
This term is included in the current provision and also is in the Model Code of Judicial Conduct.
An Indiana disciplinary case, In re Campiti, 937 N.E.2d 340 (2009), provides guidance as to the
meaning of the term. In that matter, a lawyer was reprimanded for disparaging references he made
at trial about a litigant' s socioeconomic status: the litigant was receiving free legal services.
SCEPR has found no instance where this term in an ethics rule has been misused or applied
indiscriminately in any jurisdiction. SCEPR concluded that the unintended consequences of
removing this group would be more detrimental than the consequences of keeping it in.

Discrimination against persons based on their source of income or acceptance of free or low-cost
legal services would be examples of discrimination based on socioeconomic status. However, new
Comment [5] makes clear that the Rule does not limit a lawyer's ability to charge and collect a
reasonable fee and reimbursement of expenses, nor does it affect a lawyer's ability to limit the
scope of his or her practice.

SCEPR was concerned, however, that this Rule not be read as undermining a lawyer's pro bono
obligations or duty to accept court-appointed clients. Therefore, proposed Comment [5] does
encourage lawyers to be mindful of their professional obligations under Rule 6.1 to provide legal
services to those who are unable to pay, and their obligation under Rule 6.2 to not avoid
appointments from a tribunal except for "good cause."

             E. Promoting Diversity

Proposed new Comment [4] to Rule 8.4 makes clear that paragraph (g) does not prohibit conduct
undertaken by lawyers to promote diversity. As stated in the first Goal III Objective, the
Association is committed to promoting full and equal participation in the Association, our
profession and the justice system by all persons. According to the ABA Lawyer Demographics for
2016, the legal profession is 64% male and 36% female. 41 The most recent figures for racial
demographics are from the 2010 census showing 88% White, 5% Black, 4% Hispanic, and 3%
Asian Pacific American, with all other ethnicities less than one percent. 42 Goal III guides the ABA
toward greater diversity in our profession and the justice system, and Rule 8.4(g) seeks to further
that goal.


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   A reasonable accommodation is a modification or adjustment to a job, the work environment, or the way things
usually are done that enables a qualified individual with a disability to enjoy an equal employment opportunity.
Examples of reasonable accommodations include making existing facilities accessible; job restructuring; part-time or
modified work schedules; acquiring or modifying equipment; changing tests, training materials, or policies; providing
qualified readers or interpreters; and reassignment to a vacant position.
41
   American Bar Association, Lawy er Demographics Year 2016(20 16),
http://www.americanbar. org/con ten tidam/a ba/ad min istrative/ market research/la wver-demograph ics-tab Ies-
20 16.authcheckdam.pdf.
42 id.


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                                                                        REVISED 109
           F. How New Rule 8.4(g) Affects Other Model Rules of Professional Conduct

When SCEPR released a draft proposal in December 2015 to amend Model Rule 8.4, some
commenters expressed concern about how proposed new Rule 8.4(g) would affect other Rules of
Professional Conduct. As a result, SCEPR's proposal to create new Rule 8.4(g) now includes a
discussion of its effect on certain other Model Rules.

For example, commenters questioned how new Rule 8.4(g) would affect a lawyer's ability to
accept, refuse or withdraw from a representation. To make it clear that proposed new Rule 8.4(g)
is not intended to change the ethics rules affecting those decisions, the drafters included in
paragraph (g) a sentence from Washington State's Rule 8.4(g), which reads: "This Rule does not
limit the ability of a lawyer to accept, decline, or withdraw from a representation in accordance
with Rule 1.16." Rule 1.16 defines when a lawyer shall and when a lawyer may decline or
withdraw from a representation. Rule 1.16(a) explains that a lawyer shall not represent a client or
must withdraw from representing a client if: "( 1) the representation will result in violation of the
rules of professional conduct or other law." Examples of a representation that would violate the
Rules of Professional Conduct are representing a client when the lawyer does not have the legal
competence to do so (See Rule 1.1) and representing a client with whom the lawyer has a conflict
ofinterest(SeeRules 1.7, 1.9, 1.10, 1.11 ,and 1.12).

To address concerns that this proposal would cause lawyers to reject clients with unpopular views
or controversial positions, SCEPR included in proposed new Comment [5] a statement reminding
lawyers that a lawyer's representation of a client does not constitute an endorsement by the lawyer
of the client's views or activities, with a citation to Model Rule l.2(b). That Rule reads: " A
lawyer's representation of a client, including representation by appointment, does not constitute
an endorsement of the client's political, economic, social or moral views or activities."

Also, with respect to this rule as with respect to all the ethics Rules, Rule 5.1 provides that a
managing or supervisory lawyer shall make reasonable efforts to insure that the lawyer' s firm or
practice has in effect measures giving reasonable assurance that all lawyers in the firm conform to
the Rules of Professional Conduct. Such efforts will build upon efforts already being made to give
reasonable assurance that lawyers in a firm conform to current Rule 8.4(d) and Comment [3] and
are not manifesting bias or prejudice in the course of representing a client that is prejudicial to the
administration of justice.

SCEPR has also agreed to develop a formal Ethics Opinion discussing Model Rule 5.3 and its
relationship to the other ethics rules, including this new Rule.

           G. Legitimate Advocacy

Paragraph (g) includes the following sentence: "This paragraph does not preclude legitimate
advice or advocacy consistent with these Rules." The sentence recognizes the balance in the
Rules that exists presently in current Comment [3] to Rule 8.4. It also expands the current
sentence in the existing comment by adding the word " advice," as the scope of new Rule 8.4(g)
is now not limited to "the course of representing a client" but includes "conduct related to the
practice of law."



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           H. Peremptory Challenges

The following sentence appears in the current provision: "A trial judge' s finding that peremptory
challenges were exercised on a discriminatory basis does not alone establish a violation of this
rule." SCEPR and the other cosponsors agreed to retain the sentence in the comments.

   V.      CONCLUSION

As noted at the beginning of this Report the Association has a responsibility to lead the profession
in promoting equal justice under law. This includes working to eliminate bias in the legal
profession. In 2007 the Model Judicial Code was amended to do just that. Twenty-five jurisdictions
have also acted to amend their rules of professional conduct to address this issue directly. It is
time to follow suit and amend the Model Rules. The Association needs to address such an
important and substantive issue in a Rule itself, not just in a Comment.

Proposed new paragraph (g) to Rule 8.4 is a reasonable, limited and necessary addition to the
Model Rules of Professional Conduct. It will make it clear that it is professional misconduct to
engage in conduct that the lawyer knows or reasonably should know constitutes harassment or
discrimination whi le engaged in conduct related to the practice of law. And as has already been
shown in the jurisdictions that have such a rule, it will not impose an undue burden on lawyers.

As the premier association of attorneys in the world, the ABA should lead antidiscrimination, anti-
harassment, and diversity efforts not just in the courtroom, but wherever it occurs in conduct by
lawyers related to the practice of law. The public expects no less of us. Adopting the Resolution
will advance this most important goal.

Respectfully submitted,

Myles V. Lynk, Chair
Standing Committee on Ethics and Professional Responsibility
August 2016




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Attachment C


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              REPORT OF THE PENNSYLVANIA BAR ASSOCIATION
        COMMITTEE ON LEGAL ETHICS AND PROFESSIONAL RESPONSIBILITY

               The PBA Legal Ethics and Professional Responsibility Committee (Ethics
       Committee) supports the Amended Recommendation and Report of the PBA Women in
       the Profession Commission (WIP) under House Agenda H "Revised." WIP's Amended
       Recommendation and Report requests that the Pennsylvania Bar Association recommend
       that the Supreme Court of Pennsylvania adopt an amended version of Model Rule 8.4(g)
       and its accompanying Comments as follows:

               It is professional misconduct for a lawyer to:



                        (g) engage in conduct that the lawyer knows or reasOFiaely should
               lffiew is harassment or discrimination [as those terms are defined in
               applicable federal, state or local statute or ordinance,] on the basis of race,
               sex, re ligion, national origin, ethnicity, disability, age, sexual orientation,
               gender identity, marital status or socioeconomic status in conduct related
               to the practice of law. This paragraph does not limit the ability of a lawyer
               to accept, decline or withdraw from a representation in accordance with
               Rule 1.16. This paragraph does not preclude legitimate advice or advocacy
               consistent with these Rules.

               Comment:



                     [3] Discrimination and harassment by lawyers in violation of
              paragraph Cg) undermine confidence in the legal profession and the legal
             system. Such discrimination includes harmful verbal or physical conduct
             that manifests bias or prejudice towards others. Harassment inc ludes
             sexual harassment and derogatory or demeaning verbal or physical
             conduct. Sexual harassment includes unwelcome sexua l advances,
             requests for sexual favors, and other unwelcome verbal or physical
             conduct of a sexual nature. The substantive law of antidiscrimination and
             anti-harassment statutes and case Jaw may guide application of paragraph
             .(g1 [T his Rule does not serve to expand upon or limit a claimant' s
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       available rights or remedies under other law governing harassment or
       discrimination.]
               [4 J Conduct related to the practice of law includes representing
       clients; interacting with witnesses. coworkers. court personnel. lawyers
       and others while engaged in the practice of law; operating or managing a
       law firm or law practice; and participating in bar association, business or
       social activities in connection with the practice of law. Lawyers may
       engage in conduct undertaken to promote diversity and inclusion without
       violating this Rule by, for example, implementing initiatives aimed at
       recruiting. hiring. retaining and advancing diverse employees or
       sponsoring diverse law student organizations.
               [5] A trial judge's finding that peremptory challenges were
       exercised on a discriminatory basis does not alone establish a violation of
       paragraph (g). A lawyer does not violate paragraph (g) by limiting the
       scope or sub ject matter of the lawyer's practice or by limiting the lawyer's
       practice to members of underserved populations in accordance with these
       Rules and other law. A lawyer may charge and collect reasonable fees and
       expenses for a representation. Rule l .5(a). Lawyers also should be mindful
       of their professional obligations under Rule 6. 1 to provide legal services to
       those who are unable to pay. and their obligation under Rule 6.2 not to
       avoid appointments from a tribunal except for good cause. See Rule
       6.2(a), Cb) and (c). [This Rule does not require a lawyer to accept or reject
       the representation of any prospective client who is a member of any of the
       referenced classifications.] A lawyer's representation of a client does not
       constitute an endorsement by the lawyer of the client's views or activities.
       See Rule l .2(b).




         The WIP Report details the PBA's history and two decades old policy supporting
the adoption of a Rule of Professional Conduct prohibiting sexual harassment in the
practice of law and the PBA's deep commitment to promote diversity and inclusion in the
legal profession. Ethics Committee has closely followed the developments concerning
this proposed Model Rule change as it proceeded toward adoption by the ABA House of
Delegates in August 2016. The Ethics Committee agrees w ith the WIP that adoption of a
version of ABA Model Rule 8.4(g) would be consistent with and in furtherance of
existing PBA policy and is warranted. The Ethics Committee is a standing committee
specifically charged with "review[ing] and recommend[ing] any proposals in the rules
governing professional responsibility." The Ethics Committee leadership has conferred
with WIP leadership and confirmed that WIP is in agreement with recommending
adoption of an amended version of Model Rule 8.4(g) and its accompanying Comments
set forth above. The reasons for the suggested modifications are as fo llows:




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Rule 8.4(g)

A.        Text Amendment:
Delete "or reasonably should know" and rely on "knows" and its definition in Rule l .O(f)
as the applicable mens rea requirement. The term "knows" denotes actual knowledge,
which may be inferred from the circumstances. The term "reasonably should know when
used in reference to a lawyer denotes that a lawyer of reasonable prudence and
competence would ascertain the matter in question." Rule I .OU). The justification for
the deletion would be that "reasonably should know" dilutes the mens rea requirement.
In other words, there should be more than merely a negligence level involved in exposing
a lawyer to discipline under this Rule.
By way of background, the thrust of this Model Rule amendment is to elevate to the
black letter language that has been included in Model Rule Comment (3) since 1988, as
follows: "A lawyer who, in the course of representing a client, knowingly manifests by
words or conduct, bias or prejudice based upon race, sex, religion national origin,
disability, age, sexual orientation or socioeconomic status, violates paragraph (d) when
such actions are prejudicial to the administration of justice . .. " (emphasis added.) The
Pennsylvania Supreme Court did not adopt the foregoing comment, but as noted above
the comment language expressly included "knowingly" as its mens rea standard. Some
25 jurisdictions already had in place some form of anti-discrimination/anti-harassment
black Jetter rules, including 13 that have adopted the language from the previous
Comment (3) of Model Rule 8.4.
RPC 4.2 and 8.3(a) and (b) also require "know ing" conduct in order to subject a lawyer to
discipline. For example, Rule 4.2 concerning ex parte contacts prohibits communicating
with a represented person the lawyer "knows" to be represented by another lawyer in the
matter. The more expansive "reasonably should know" language was not included to
avoid exposing lawyers to discipline for unintentionally not realizing the person is
represented and to avoid imposing a duty to research the question first. The same caution
may be applied here against disciplining lawyers unless they know the conduct
constitutes harassment or discrimination directed to one or more of the prohibited
categories.
Similarly, Rule 8.2 prohibits a lawyer from making a statement that the lawyer "knows to
be false" concerning the qualifications or integrity of a judge. As with any rule that may
either limit speech or constrain vigorous advocacy, there are potential First Amendment
implications at play and caution should be exercised in imposing a standard for purposes
of discipline. Moreover, while all citizens including lawyers are subject to federal, state
and local Jaws concerning harassment or discrimination in the workplace, this Rule has
more expansive application to lawyers in various settings that are Jaw related, includiny
certain social occasions, and thus a clear and definite mens rea requirement is preferable.


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  On December 22, 2015, the ABA Ethics Committee issued its draft proposal to amend Rule 8.4, providing, "It is
profess ional misconduct for a lawyer to: (g) in conduct related to the practice of law, harass, or knowingly discriminate
against persons on the basis of [protected classes]." The ABA Ethics Committee's accompanying Memorandum
explained, "The word 'knowing' was retained [from the Model Rule Comment] when applied to discrimination because
the Ethics Committee concluded that conduct which had a non-discriminatory intent, such as hiring decisions based on

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For the foregoing reasons, deletion of the " reasonably should know" language in the
recently adopted Model Rule version of 8.4(g) is more in keeping with the previous
Model Rule Comment language, more consistent with the text of other rules containing a
mens rea requirement and sets a clearer standard for practitioners to follow and
disciplinary authorities to enforce.
The text of Model Rule 8.4(g) is also amended to incorporate the existing definitions of
"harassment" and "discrimination" under applicable substantive Jaw. This amendment is
intended to provide greater clarity and guidance to lawyers and disciplinary authorities.

B.       Additional Comment language consistent with the text:

              [5] ... "This Rule does not require a lawyer to accept or reject the
          representation of any prospective client who is a member of any of the referenced
          classifications."

          "This Rule does not serve to expand upon or limit a claimant's available rights or
          remedies under other law governing harassment or discrimination."
The foregoing Comment clarifications are intended to allay concerns expressed that the
proposed rule might require lawyers to accept representations they may view as
repugnant or in conflict with their religious or moral views. Others have expressed
concern that the "socioeconomic status" prong of the new Rule might be construed to
limit a lawyer's ability to decline a representation based on the perception that a
prospective client will be unable to pay the requisite fees and expenses that may be
incurred. While the ABA Standing Committee on Ethics and Professional Responsibility
has issued statements assuring lawyers that the rule would not interfere with any lawyer's
First Amendment rights or discretion to accept or reject prospective clients, the additional
Comment language above wou ld reinforce that position.
The second suggested Comment addition would make clear, in response to various
concerns expressed, that the Rule amendment is not intended to alter in any way the
rights or remedies available to claimants alleging harassment or discrimination. Nor
would it alter the available defenses in such cases. A lawyer could be disciplined for
misconduct in violation of the Rule and a lawyer could be sued for harassment or
discrimination under governing law. A lawyer could be found liable under governing law
for harassment or discrimination but not necessarily the subject of discipline under this
rule, and a lawyer could be disciplined under the Rule without any predicate finding by a
tribunal of a violation of substantive law.



class rank or the willingness of an applicant to relocate to a particular jurisdiction, should not be a basis for a finding o f
professional misconduct. In addition, ' knows' is a defined tem1 in the Model Rules of Professional Conduct. The
Rules define ' knows' as 'actual knowledge o f the fact in question. A person 's knowledge may be inferred from the
circumstances.' Because this is the standard used throughout the Model Rules, it is appropriate to incorporate it here."
This Committee agrees with that conclusion, i.e., that "knows" is a clear, distinct and sufficient mens rea requirement
under this Rule that should not be diluted by inj ecting a more expansive and amorphous "reasonably should know"
standard.



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The Ethics Committee believes that its Recommendation is in keeping with the WIP
Amended Recommendation and understands that the WIP leadership is amenable to the
foregoing suggested modifications to the Rule and Comments [3] and [5].


                                        Respectfully submitted,


                                        Daniel Q. Harrington, Co-Chair
                                        Samuel D. Miller, III, Co-Vice Chair
                                        Daniel J. Siegel, Co-Vice Chair



                                        November 14, 2016




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